      Case 22-10831-elf         Doc 8 Filed 04/01/22 Entered 04/01/22 09:29:04                      Desc Order
                                    Requiring Documents Page 1 of 1




                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA

    In Re:                                             Chapter: 13
        Lisa Francis
                            Debtor(s)                  Bankruptcy No: 22−10831−elf

                                        ORDER


    AND NOW, this 1st day of April 2022 , the debtor having failed to file or submit with the
petition all of the documents required by Fed. R. Bankr. P. 1007,

  It is hereby ORDERED that:

 1. This case MAY BE DISMISSED WITHOUT FURTHER NOTICE if the documents listed
below are not filed by deadline also listed below:

               Documents and Deadline




               Proper Form of Petition due 4/14/2022.




  2. Any request for an extension of time must be filed prior to the expiration of the deadlines listed
above in Paragraph 1.




                                                                                           By the Court

                                                                                        Eric L. Frank
                                                               Judge , United States Bankruptcy Court
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                                                                                                             Form 130
